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 8                        UNITED STATES DISTRICT COURT
 9                       CENTRAL DISTRICT OF CALIFORNIA
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12   RAYFORD TYLER, JR.,              ) Case No. CV 20-0679-JPR
                                      )
13                      Petitioner,   )
                                      )          J U D G M E N T
14                 v.                 )
                                      )
15   JOSIE GASTELO, Warden,           )
                                      )
16                      Respondent.   )
                                      )
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18
          Pursuant to the Order Denying Petition and Dismissing Action
19
     with Prejudice,
20
          IT IS HEREBY ADJUDGED that this action is dismissed with
21
     prejudice.
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24
     DATED: 
25                               JEAN ROSENBLUTH
                                 U.S. MAGISTRATE JUDGE
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